Case 5:13-cv-02353-TJH-PJW Document 35 Filed 01/08/16 Page 1 of 2 Page ID #:238



   1

   2

   3

   4

   5

   6

   7

   8                     UNITED STATES DISTRICT COURT
   9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10

  11   LAS VEGAS LAND &                           Case No. EDCV 13-02353-TJH (PJWx)
       DEVELOPMENT CO INC a Nevada
  12   corporation
  13                    Plaintiff                 JUDGMENT [JS-6]
  14   vs
  15   CORT BUSINESS SERVICES
       CORPORATION a Delaware
  16   corporation dba CORT FURNITURE
       RENTAL and DOES 1 through 25
  17
                        Defendant
  18

  19   CORT BUSINESS SERVICES
       CORPORATION, a Delaware
  20   corporation,
  21                    Counterclaimant,
  22   vs.
  23   LAS VEGAS LAND &
       DEVELOPMENT CO., INC., a
  24   Nevada corporation, and ROES 1
       through 10, inclusive,
  25
                        Counterdefendants.
  26

  27
  28
                                            -1-
                                           JUDGMENT
Case 5:13-cv-02353-TJH-PJW Document 35 Filed 01/08/16 Page 2 of 2 Page ID #:239



   1
             Having entered an order confirming the arbitration award issued in favor of
   2
       defendant, counterclaimant and petitioner CORT Business Services Corporation
   3
       (“CORT”),
   4
             IT IS HEREBY ORDERED THAT:
   5
             1.     Judgment shall be entered in favor of CORT and against Las Vegas
   6
       Land & Development Co., Inc. in the amount of $184,568.52.
   7
             2.     Interest on the judgment shall accrue at the applicable legal rate until
   8
       the judgment is satisfied in full.
   9
             3.     CORT shall be entitled to recover its costs incurred to collect the
  10
       judgment to the extent allowed by applicable law.
  11

  12
             IT IS SO ORDERED.
  13

  14
       Dated: January 8, 2016
  15   ___________________
  16
                                               HON. TERRY J. HATTER, JR.
  17                                           United States District Judge
  18

  19   CC: FISCAL

  20

  21

  22

  23

  24

  25

  26

  27
  28
                                                -2-
                                             JUDGMENT
